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                                UNITED STATES DEPARTMENT OF AGRICULTURE

                                           FOREST SERVICE




                 LGENENT, a-lo                                  V
                                                             \r,j
                                                                             j          WASHINGTON

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                       Annual, 1938                               \                   21, 1939.
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                                                                V




            Regional Forester,
                         Juneau, Alaska.

            Dear sirs
                         In compiling the figures from the Ammnal Reports for 1938,
            ve find that the latest data in the leshington Ottiee on game
            refuges of Alaska is taken fret the report fer 19$3. Since it is
             our belief that there have been changes sines that time,_ we have
             listed below the record of Alaska reflages as fumed here. Please
             make corrections in this list and return it to Washington at your
             earliest convenience,
                                                                              •
                          Game aefuges On National Forests of Alaska
               Chugach National Forest
                               Abognak Island                448,000 acres
                               Kenai                       1,798,114 '
                         \,    1We                             22,000 *
                Tongan. National Forest
                               Glacier Bay                    454,680 '
                       ,        Partofshikof                    8,380 '
                                Ermsof                        110,320 *
           \'4r,   .■•
                                Admiralty  Island
    ,         -i'.\' Y   -
                                    Thayer Swot-aim            38,400 w
                                    Pack Creek                 14410
                               4---4kmaleathall Lake             5,120 '

                                                         Very truly yours,

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                                                           H. L. SHANTZ,
         n r rrfaL:      li t                   Chief, Division of ifildlifeammagamenb.
        Case 3:92-cv-00734-HRH
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